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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     NORTHERN DIVISION

GARY LEON WEBSTER
ADC #114018                                                    PLAINTIFF

v.                        No. 3:22-cv-86-DPM

SHARI FLYNN, head of S.O.S.R.A.                             DEFENDANT
                                ORDER
     The    Court adopts      Magistrate Judge Volpe's          unopposed
recommendation, Doc. 4.   FED. R.   CIV. P. 72(b) (1983 addition to advisory
committee notes).     Webster is a three-striker;     and nothing in his
complaint shows that he's currently in imminent danger of serious
physical injury. 28 U.S.C. § 1915(g). His complaint will therefore be
dismissed without prejudice. If Webster wants to pursue this case, then
he must pay the $402 filing and administrative fees and file a motion to
reopen the case by 28 June 2022. An in forma pauperis appeal from this
Order and accompanying Judgment would not be taken in good faith.
28 U.S.C. § 1915(a)(3).
     So Ordered.


                                    D.P. Marshall Jr.
                                    United States District Judge
